      Case 4:15-cr-06010-EFS      ECF No. 107   filed 07/25/16   PageID.241 Page 1 of 2




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 5
                              UNITED STATES DISTRICT COURT
 6                           EASTERN DISTRICT OF WASHINGTON

 7
     UNITED STATES OF AMERICA,                  No.    4:15-CR-6010-EFS-5
 8
                                 Plaintiff,
 9                                              ORDER GRANTING DEFENDANT’S MOTION
                 v.                             TO MODIFY CONDITIONS OF RELEASE
10
     JUAN MANUEL OLIVERA (5),
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                                 Defendant.
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          Before      the   Court,    without   oral    argument,     is    Juan   Manuel
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     Olivera’s   Motion     to   Modify   Conditions    of   Release,      ECF   No.   106.
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     Defendant asks the Court to modify his conditions of pretrial release.
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     Specifically, Defendant asks the Court to lift his curfew and allow
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     him to travel throughout Washington. Defendant states that this will
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     allow him to continue to work. According to Defendant, the United
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     States Probation Office and the United States Attorney’s Office do not
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     oppose the request. The Court finds good cause to grant the motion.
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          Accordingly, IT IS HEREBY ORDERED:
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       1. Defendant’s Motion to Modify Conditions of Release, ECF No. 106,
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          is GRANTED.
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       2. Defendant is no longer subject to a curfew as a condition of his
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          pretrial release. Additionally, Defendant may travel throughout
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     ORDER - 1
       Case 4:15-cr-06010-EFS             ECF No. 107      filed 07/25/16   PageID.242 Page 2 of 2




 1           Washington.         Defendant        may    not,   however,    travel   to   any   other

 2           state without prior approval from his probation office.

 3       3. All other conditions of pretrial release remain in full effect.

 4           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 5   Order and provide copies to all counsel and to the U.S. Probation

 6   Office.

 7           DATED this _25th day of July 2016.

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                                         s/Edward F. Shea
 9                                         EDWARD F. SHEA
                                Senior United States District Judge
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     ORDER - 2
